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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

                                        Grand Jury N-19-2

UNITED ST ATES OF AMERICA                                     CRIMINAL NO.       ?,' / 0C)t)._t:.   3{}t.A IJ)   .

                V.                                           VIOLATION:
                                                             18 U.S.C. § 2339B(a)(l)
KEVIN IMAN MCCORMICK                                         (Providing material support and
                                                             resources to designated foreign
                                                             terrorist organization)

                                          INDICTMENT

       The Grand jury charges:

                                          COUNT ONE
                            (Providing material support and resources
                            to designated foreign terrorist organization)

       1.       From a time unknown to the Grand Jury to on or about October 21, 2019, in the

District of Connecticut and elsewhere, the defendant KEVIN IMAN MCCORMICK knowingly

attempted to provide material support and resources, as that term is defined in Title 18, United

States Code, Section 2339A(b)(l), that is, personnel, namely himself, to the Islamic State oflraq

and al-Sham ("ISIS"), which at all relevant times was designated by the Secretary of State as a

foreign terrorist organization pursuant to Section 219 of the Immigration and Nationality Act,

knowing that ISIS was a designated foreign terrorist organization, and knowing that ISIS had

engaged in, and was engaging in, terrorist activity and terrorism.

       In violation of Title 18, United States Code, Section 2339B(a)(l).

                                 FORFEITURE ALLEGATION

       2.       Upon conviction of the offense charged in Count One of this Indictment, the

defendant KEVIN IMAN MCCORMICK shall, pursuant to 18 U.S.C. § 981(a)(l)(C), 18 U.S.C.

§ 981(a)(l)(G)(i)-(iv), and 28 U.S.C. § 2461(c), forfeit to the United States:
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               a.      All of his assets, foreign or domestic (18 U.S.C. §§ 981(a)(l)(G)(i) and

                       (iv) and 28 U.S.C. § 2461(c));

               b.      All assets acquired or maintained by any person with the intent and for the

                       purpose of supporting, planning, conducting, or concealing the offense

                       charged in Count One of this Indictment (18 U.S.C. § 981(a)(l)(G)(ii) and

                       28 U.S.C. § 2461(c));

               c.      All assets derived from, involved in, or used or intended to be used to

                       commit the offense charged in Count One of the Indictment (18 U.S.C.

                       § 981(a)(l)(G)(iii) and 28 U.S.C. § 2461(c)); and

               d.      Any property, real or personal, which constitutes or is derived from

                       proceeds traceable to the offense charged in Count One of the Indictment

                       (18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c)).

Such assets include, but are not limited to: (1) a black in color, Motorola brand, cell phone; (2) a

white in color, Nokia brand, cell phone; (3) ½ of a broken "Simmons" binocular; and (4) $488.27

in U.S. currency.



                                                              /s/

                                                                    ON




        SHER
   · L ATTORNEY
UNITED STATES DEPARTMENT OF JUSTICE


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